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                       Exhibit 5
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


STEVEN HOTZE, M.D.; WENDELL
CHAMPION; HON. STEVE TOTH; and
SHARON HEMPHILL,
                                                           Civil Action No. 4:20-cv-03709
                         Plaintiffs,

           v.

CHRIS HOLLINS, in his official capacity as Harris
County Clerk,
                         Defendants,

and

MJ FOR TEXAS; DSCC; DCCC; MARY
CURRIE; CARLTON CURRIE, JR., JEKAYA
SIMMONS, and DANIEL COLEMAN,,

                         Proposed Intervenor-
                         Defendants


                               DECLARATION OF MARY CURRIE


           Pursuant to 20 U.S.C. § 1746, I, Mary Currie, declare as follows:

           1.    My name is Mary Currie. I am over the age of 18, have personal knowledge of the
facts stated in this declaration, and can competently testify to their truth.

           2.    I am currently a registered voter in Harris County, Texas. I try to vote in every

election. I am very active in my community and I have served several times as an election clerk at

precinct polling places on election day.

           3.    On the first day of early voting in Harris County, I voted using Harris County’s

drive-thru voting at the NRG Stadium. The process felt safe and secure, and just like voting at an

indoor polling place. For example, I had to show my ID and sign the register before I was permitted

to vote.




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          4.   I chose to vote using drive-thru voting because I am 67 years old and concerned

about my health should I contract COVID-19. I also chose to vote using drive-thru voting because

Harris County advertised it as an option for voters this year and I believed it was a good option for

someone like me.

          5.   I am now concerned that I may need to cast a second ballot to ensure my vote is

counted. Because early voting ends today, the only way for me to do that would be to go to my

polling place on Election Day. Given my age, I am concerned doing so would jeopardize my

health.



               I declare under penalty of perjury that the foregoing is true and correct.
                         
          DATED: _______________




                                              By: ___________________

                                              Mary Currie




                                                  2
                                                                                              Exhibit 5
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